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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 IN RE: CAPITAL ONE CONSUMER                                MDL No. 1:19md2915 (AJT/JFA)
 DATA SECURITY BREACH LITIGATION


 This Document Relates to the Consumer Cases
 __________________________________________

                     [PROPOSED] STIPULATED ORDER GOVERNING
                        THE TAKING OF REMOTE DEPOSITIONS

        WHEREAS Coronavirus Disease 2019 (“COVID-19”) continues to affect the operation

 of the judicial system and to limit the ability of individuals to travel and to congregate, see

 generally E.D. Va. General Order No. 2020-12, and

        WHEREAS the Parties have agreed to stipulate and agree, pursuant to Rules 29 and

 30(b)(4) of the Federal Rules of Civil Procedure, by and through their undersigned counsel and

 subject to Court approval, to the following terms governing the taking in this case of Remote

 Depositions (as that term is defined below):

        I.      GENERAL GUIDELINES AND SCOPE

        1.      This Stipulated Request for an Order Governing the Taking of Remote Depositions

 (the “Protocol”) will govern, subject to Court approval, the taking of Remote Depositions in the

 above-captioned matter as a supplement to the Federal Rules of Civil Procedure and United States

 District Court for the Eastern District of Virginia Local Rules.

        2.      By agreeing to this Protocol, no Party waives the right to object to the deposition

 of a particular Witness (as defined below) being taken by remote means pursuant to Paragraph 10

 below. This Protocol in no way constitutes an agreement by the Parties to take all depositions via




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 remote means. It applies only to those depositions that the parties have agreed to take remotely or

 that the Court orders to be taken remotely pursuant to the terms set out in Paragraphs 8 to 10 below.

          3.     This Protocol does not modify the governing rules for the taking of depositions

 imposed by the Federal Rules of Civil Procedure except to the extent those rules are specifically

 modified herein.

          II.    DEFINITIONS

          4.     “Defending Party” means the party that represents or has employed the Witness.

          5.     “Noticing Party” means the party that noticed a Witness for a Remote Deposition

 pursuant to Federal Rule of Civil Procedure 30.

          6.     “Remote Deposition” means any deposition by oral examination conducted

 pursuant to Federal Rule of Civil Procedure 30 where all the participants—including attorneys,

 witnesses, court reporters, or videographers—are not physically present in the same location at the

 time the deposition is taken.

          7.     “Witness” means the person noticed for the taking of a Remote Deposition or

 designated to appear to give testimony pursuant to Fed. R. Civ. P. 30(b)(6).

          III.   AGREEING TO CONDUCT A DEPOSITION REMOTELY

          8.     Any Party may notice a Remote Deposition by stating its intention to take a

 deposition by remote means in its original notice of a deposition by oral examination pursuant to

 Federal Rule of Civil Procedure 30 or in an amended notice.

          9.     Other than those depositions which have previously been scheduled by agreement

 by the Parties, unless the Parties previously agreed in writing to a shorter time, a Party must serve

 notice of its intention to take a Remote Deposition no less than 11 days before the deposition is to

 occur.




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        10.     If the Defending Party objects to the taking of the deposition by remote means, it

 must notify the Noticing Party, in writing, of the objection within five (5) days of receiving the

 Noticing Party’s notice of its intention to take a Remote Deposition. The Parties agree to promptly

 confer in good faith to attempt to resolve any such objection. If the Parties are unable to resolve

 any objection, the Noticing Party may, pursuant to Federal Rule of Civil Procedure 30(b)(4), file,

 within three (3) days of the Parties’ reaching an impasse, a motion with the Court seeking an order

 that a deposition be taken by remote means. The deposition may not take place until the Court

 resolves the motion.

        IV.     THE TECHNOLOGY TO BE USED

        11.     The parties agree to use the Veritext Virtual remote deposition platform with

 Exhibit Share offered by Veritext Reporting (“Veritext”) or the Huseby Connect remote deposition

 platform offered by Huseby Global Litigation (“Huseby”) for all Remote Depositions.

 Collectively, Veritext and Huseby will be referred to herein as “the Vendor,” and the Veritext

 Virtual and Huseby Connect platforms will be referred to herein as “the Platform.”

        12.     The Platform will be configured such that any private chat or breakout room

 features are disabled.

        13.     The Noticing Party shall be responsible for arranging the taking of a Remote

 Deposition with the Vendor and ensuring that email invitations to attend the deposition remotely

 are sent via the Vendor to the Witness and participating attorneys. The Defending Party shall

 notify the Noticing Party of the email addresses of the Witness and participating attorneys no later

 than four (4) days before the deposition.

        14.     The Defending Party shall ensure that the Witness has access to technology that

 meets the minimum standards required by the Platform, including but not limited to a computer




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 with an internet speed of at least 1.5 Megabits per second; a webcam; and a phone, USB

 microphone, headphones with a microphone, or other technology sufficient to ensure the

 transmission of high-quality audio via the Platform.

         15.     Remote Depositions subject to this Protocol shall be recorded by stenographic and,

 if requested by the Noticing Party, audiovisual means by the Vendor.

         16.     Any costs associated with using the Platform for a Remote Deposition or for the

 recording of such a deposition will be the responsibility of the Noticing Party.

         V.      EXHIBITS

         17.     All exhibits presented during a Remote Deposition shall be displayed using the

 Platform’s exhibit function: Veritext’s Exhibit Share or the Huseby Connect exhibit sharing

 function.

         18.     Exhibits used in depositions shall be sequentially numbered. Plaintiffs shall begin

 numbering exhibits they present at 0001. Defendants shall begin numbering exhibits they present

 at 5000.

         VI.     OATH OR AFFIRMATION

         19.     A Remote Deposition taken pursuant to this Protocol will be deemed to have been

 conducted “before an officer” as required by Federal Rule of Civil Procedure 30(b)(5)(A) so long

 as that officer attends the deposition via the same remote means used to connect all other remote

 participants, and so long as all participants (including the officer) can clearly hear and be heard by

 all other participants.

         20.     Notwithstanding any other rule to the contrary, the Parties stipulate that the

 Witness’ oath or affirmation may be administered remotely.

         IV.     MISCELLANEOUS PROVISIONS




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          21.   All participants shall conduct a test of the Platform with the technology they intend

 to use to participate in a Remote Deposition before the time at which a Remote Deposition is to

 begin.

          22.   The Witness shall enable both an audio and video connection when giving

 testimony through a Remote Deposition.

          23.   No person may be physically located in the same room as the Witness during the

 taking of a Remote Deposition except for a non-attorney who (i) is present solely for the purpose

 of providing technical assistance to the Witness in using the Platform and (ii) is logged onto the

 Platform with a video connection or is otherwise viewable by a camera at all times during the

 course of the Remote Deposition.

          24.   At the beginning of the Remote Deposition and after any break, every person

 logged onto the Platform or otherwise viewing or listening to the Deposition must be identified for

 the record.

          25.   The Witness may not communicate with any person, except through the Platform,

 during the taking of a Remote Deposition. This restriction does not apply to breaks or other

 recesses not on the record.

          26.   The Witness may not review or read any document, except documents presented to

 the Witness as exhibits during the Remote Deposition, without the express consent of counsel for

 all Parties.

          27.   If technical difficulties arise during the taking of a Remote Deposition, counsel for

 the Parties must meet and confer immediately, by telephone or other means, to determine whether

 the Remote Deposition can proceed or should be continued to a future date. If the Parties cannot

 agree on how to proceed, they may seek a telephone conference with the Court to resolve the




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 dispute.

        28.     The Defending Party shall ensure that the Witness is made aware of and complies

 with all of the requirements in this Protocol.



 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 DATED:         May 13, 2020

 Respectfully Submitted,

  /s/                                                 /s/
  David L. Balser (pro hac vice)                      Norman E. Siegel
  S. Stewart Haskins II (pro hac vice)                STUEVE SIEGEL HANSON LLP
  John C. Toro (pro hac vice)                         460 Nichols Road, Suite 200
  Kevin J. O’Brien (VSB No. 78886)                    Kansas City, MO 64112
  Robert D. Griest (pro hac vice)                     Tel: (816) 714-7100
  KING & SPALDING LLP                                 siegel@stuevesiegel.com
  1180 Peachtree Street, N.E.
  Atlanta, Georgia 30309                              Karen Hanson Riebel
  Tel.: (404) 572-4600                                LOCKRIDGE GRINDAL NAUN, P.L.L.P
  Fax: (404) 572-5140                                 100 Washington Avenue South, Suite 200
  dbalser@kslaw.com                                   Minneapolis, MN 55401
  shaskins@kslaw.com                                  Tel: (612) 339-6900
  jtoro@kslaw.com                                     khriebel@locklaw.com
  kobrien@kslaw.com
  rgriest@kslaw.com                                   John A. Yanchunis
                                                      MORGAN & MORGAN COMPLEX
  Defendants’ Lead Counsel                            LITIGATION GROUP
                                                      201 N. Franklin Street, 7th Floor
  Robert A. Angle (VSB No. 37691)                     Tampa, FL 33602
  Tim St. George (VSB No. 77349)                      Tel: (813) 223-5505
  Jon S. Hubbard (VSB No. 71089)                      jyanchunis@ForThePeople.com
  Harrison Scott Kelly (VSB No. 80546)
  TROUTMAN SANDERS LLP                                Plaintiffs’ Lead Counsel
  1001 Haxall Point
  Richmond, VA 23219                                  Steven T. Webster (VSB No. 31975)
  Tel.: (804) 697-1200                                WEBSTER BOOK LLP
  Fax: (804) 697-1339                                 300 N. Washington Street, Suite 404
  robert.angle@troutman.com                           Alexandria, Virginia 22314
  jon.hubbard@troutman.com                            Tel: (888) 987-9991
  scott.kelly@troutman.com                            swebster@websterbook.com
  timothy.st.george@troutman.com



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                                           Plaintiffs’ Local Counsel
  Mary C. Zinsner (VSB No. 31397)
  TROUTMAN SANDERS LLP
  401 9th Street, NW, Suite 1000
  Washington, DC 20004
  Tel.: (703) 734-4334
  Fax: (703) 734-4340
  mary.zinsner@troutman.com

  Defendants’ Local Counsel




 IT IS SO ORDERED.

 Alexandria, Virginia
 May _____, 2020                    John F. Anderson
                                    United States Magistrate Judge




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